Case 2:Ol-cV-03041-STA-egb Document 225 Filed 05/17/05 Page 1 of 5 Page|D 296

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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE 553 five :’ § ? F'F=§ L== §§
WESTERN DIVISION

 

 

MEMPHIS-SHELBY COUNTY

 

 

AIRPORT AUTHORITY, Plaintiff, Counter-Defendant,
vS. Civl`l Action No. 01-304l-BA
IURY DEMANDED

ILLINOIS VALLEY PAVING COMPANY, Defendant/Counter-Plaintiff,
ILLINOIS VALLEY PAVING COMPANY, Third-Party Plaintiff,
vs.

JACO AIRFIELD CONSTRUCTION, INC., Third-Party Defendant.
JACO AIRFIELD CONSTRUCTION, TNC., Fourth-Party Plaintiff,

VS.

NEHRING ELECTRICAL WORKS COMPANY,
GRAYBAR ELECTRIC COMPANY, INC., FOurth-Party Defendants.

 

NEHRlNG ELECTRICAL WORKS COMPANY,

 

GRAYBAR ELECTRIC COMPANY, INC., Fifth-Party Plaintiffs,
vs.

AMERACE, a DiviSiOn Of Thomas & Betts Corporation, Fifth-Party Defendants.
ILLINOIS VALLEY PAVING COMPANY, CrOSS-Claimant,

VS.

NEHRING ELECTRICAL WORKS COMPANY,
GRAYBAR ELECTRIC COMPANY, INC., CrosS-Defendants.

 

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Case 2:Ol-cV-03041-STA-egb Document 225 Filed 05/17/05 Page 2 of 5 Page|D 297

FIREMAN’S FUND INSURANCE COMPANY, Defendant/Cross-Claimant,

VS.

JACO AIRFIELD CONSTRUCTION, INC.,
NEHRING ELECTRICAL WORKS COMPANY,
AND GRAYBAR ELECTRIC COMPANY, INC., Cross-Defendants.

 

ORDER GRANTING NEHRING ELECTRICAL WORKS
COMPANY’S MOTION F()R EXTENSION OF TI.ME TO FILE AND
SERVE EXPER'I` WITNESS REPORT

 

Came on for consideration, Defendant, Nehring Electrical Works Company’s (“Nehring")
Motion for Extension for disclosing the expert report of Rodney Ginger. The l\/lotion is well
taken and should be granted.

WHEREFORE, PREMISES CONSIDERED, this Court does Order, Adjudge and Decree
that Nehing Electrical Works Cornpany’S shall disclose the expert report of Rodney Ginger on or
before June 3, 2005. lt is also ordered that the remaining parties shall disclose any rebuttal

expert and corresponding reports by August 3, 2005.

 

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DATE; maj 171,),00§

P EPARED BY:

M/l/ll,ll/

ODD B. MURRAH (#15235)
Attorneys for Nehring Electrieal Works Company

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File: 03-125

CERTIFICATE OF SERVICE

I hereby certify that a Copy of the foregoing has been properly served, via U.S. Mail

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Notice of Distribution

This notice confirms a copy of the document docketed as number 225 in
case 2:01-CV-03041 Was distributed by faX, mail, or direct printing on
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US DISTRICT COURT

